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l. ClR./DIST.IDIV. CODE Z. FERSON REPRESENTED V()UCHER NUMBER
TNW lvy, lames

 

 

 

3. MAC. DKT.."[)EF. NUMBER 4. DIST. DKT.¢'DE]~`. NUMBER

2:05-020188-001

5. APPEALS DKT../DEF. NUMBER ti. OTI{ER DK1`.NUMBER

 

7. iN CASE/MATTER 0F s. PAYMENT CATEGORY
U.S. v. Ivy Felony

(Case Numel

 

9. TYPF. PF,RSON RF.PRESENTED
Aduit Defendant

10. REP RESEN'I`A 'l`lON TYPE
(See |n_slructions]

Crimmal Casc

 

 

 

11. oFFENsE.(s) Cii ARGEn (Ciie U.s. Code. Tme & smimi;
1) 18 922(}. F --

lfmore than one oHense, list (up tu t'tve) major offenses charged,

UNLAWFUL TRANSPORT/POSSES S/REC

according to severity nfnlfense.

EIVE FIREARMS THROU GH INTERSTATE COMME RCE ~' '

 

12. ATTORNEY'S NAME (Firsl ]\`ame, M.l., l.i\st Name, including en)l sufl`ix}
AND M.AlLING ADDRESS

I_EFFLER, STEPHEN R.
707 Adams Ave
MEMPHIS TN 38105

Te|nphone Nunlber'.

l3. COURT ORI)ER

0 Appninling Counse|

m F Subs Fer Federal l’)efender
E P Subs Fcir Piinel Attnrney

Prior Auorney's Nume:

l] C Co-Cnunse| `
m R Suhs Far RetainetA»fc;‘lz»n{y
ij Y Standb_vConnsel t

    

 

Appointment Diite:

   
   

\:\, Beceuse the el'mve'named person re resenled has testified under oath or has /'\ 'z§)
otherwise satisfied this court that h- ' [l) is financially unable to employ econan ‘
use the interests ol'justice so require` the '

 

ld. NAME AND MAIL]NG ADDRESS OF LAW FlRM (onlyl provide per instructinns)
STEPHEN R. LEFFLER LAW OFFlCE
707 Adams Avenue
MEMPHIS TN 38105

 
 
   

attorney

whm§£gmenpydhinl ml
or __..~ "”‘

 

 

 

Dnte ol`Order ]\‘tlne Fro Tunc I)ate
Repayment or partial repayment ordered from the person represented for this service al
time oflppointment. YES

 

 

 

  

   

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

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CATEGOR|ES (Anii¢h itemization ofservices with dates) CE§M§SD E\Y§H§}") hi§§éi£l:)" BYI);§'{JOI§":E:DH AR§{,T"{,:Q,‘V"AL
15. a. Asraignment and/or Pleii

b. Bail and Detention Hearings

c. Motion IIearings
1 d. Trial
C c. Senteneing Hearings
3 l. Revocation l'learings
tr g. Appeals Court

h. Other (Spccify on additional sheets)

(Rate per hour = 5 ] T`OTALS:
16, a, Interviews and Confcrences
iii h. Obtaining and reviewing records
0 c. Legat research and brief writing
; d. Travel time
l',J e. lnvestigative and Other work (specil'y on additional sneeisj
{ (Rate per hour = S ) TOTALS:
17. Travel Expenses (todging, parking. mea|s, mileage, etc.)
lB. Other Expenses (other than expert, transcripts, etc.)
‘ ` 4 cm&ormm(ci.M mom.rusm)) _
19. CERTlFlCATION OF` A'[`TORNEY!PAYEE FOR THE PER]O}) O F SE.RWCE 20. APPOINTMENT TERM!NAT|ON DATE Zl. CASE DlSPO SlTION
FROM m lF L)THI~'.R THAN CASE CoMPLETloN
22. CLAlM STATUS [:] Final }’ayment m [nterim Payment Numher _ [] Supp|ementa| Peymenl
ltave you previously applied to the court rcr compensation lndtnr remimbursement far this ease? |:l YES |l'yes, were you paid'.’ 1:] YES § NO

Olher than from the couri, have you, or tuynur knowledge has anyone else, received payment (compensation or anything or volue} from any other source in connection with this

representation’.' m YES m N(] lfyes, give details on additional sheets.
l swear or attirm the truth or correctness of the above statements

 

 

 

    
     

 

 

 

 

 

 

 

 

Signeture of Attorney: Date:
'M , .~ _ :.\Arié_iioyeo son‘ EN_`T'_»`cotiin“,us`.-<:' QNLY';é;`*
23. [N COURT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXPF,NSES 26. ()THER EXPENSES 27. TOTAL AMT. APPR l CERT
28. SIGNATURE OF THE PRESlDlNG .!UDICIAL OFFICER DATE, zsa. JUDGE f MAG. JL:DGE COnE
19. IN C()URT COMP. 30. OUT OF COURT COMI‘. 31. TRAVF.L EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPROVED
]4. SIGNATURE OF Cl{lEF .lUDGE, C()URT 0 DA”IE

approved in excess olt.l\e statutory/threshold amnun

{"APP EALS (? DELE]GATE:…|y/

34a. JUDCE CODE

 

 

 

 

   

Th|s document entered on the dockets
zenith Ru|e 55 andfor 32(b) FHCrP on

UNITED sTATE DRISTIC COUR - W'"ERNT D'S'TRCT oFTENNESSEE

    

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This notice confirms a copy ofthc document docketed as number 14 in
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Honorable J on McCalla
US DISTRICT COURT

